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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
SK                                                 271 Cadman Plaza East
                                                   Brooklyn, New York 11201



                                                   August 10, 2016

By Hand and ECF

The Honorable Peggy Kuo
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     In re Grand Jury Subpoena
                      Misc. Docket Nos. 16-1319, 16-1320, 16-1321

Dear Judge Kuo:

               The government respectfully requests that its previously filed applications in
the above-referenced matters remain under seal until further order of the Court in order to
preserve the secrecy of the underlying criminal investigations.

I.      Background

              On May 12, 2016, United States Magistrate Judge James Orenstein, serving as
duty magistrate, issued a memorandum and order denying fifteen pending applications for
non-disclosure orders (requested pursuant to 18 U.S.C. § 2705(b)). In the order, the
magistrate judge issued the following directive:

              I respectfully direct the Clerk to create a separate public docket
              for each application, and within each such docket to file the
              pertinent application under seal to preserve the secrecy of the
              underlying criminal investigation, and to file this document,
              unsealed, on each such docket.

Order I, 16-MC-1300, ECF No. 2, at 12. Thereafter, the Clerk of the Court created fifteen
separate public dockets numbered 16-MC-1300 through 16-MC-1314, filed the pertinent
applications under seal, and filed Judge Orenstein’s memorandum and order unsealed in each
docket.
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               Later that day, Magistrate Judge Orenstein denied three additional pending
applications for non-disclosure orders, in separate publicly filed orders in the above-
referenced dockets. These subsequent orders stated that the applications were denied for the
reasons set forth in Magistrate Judge Orenstein’s prior memorandum and order (16-MC-
1300, ECF No. 2). However, unlike with the prior fifteen applications, the magistrate judge
ordered (without explanation) that these three applications remain under seal only “for a
period of 90 days, subject to renewal upon a showing of a continuing need for secrecy.”
Order II, 16-MC-1319, ECF No. 2. Each of the three applications included an application for
a non-disclosure order, a proposed non-disclosure order, and a grand jury subpoena to which
the non-disclosure order related.

               Subsequently, on June 28, 2016, the government submitted revised
applications for non-disclosure orders, including revised applications in the above-referenced
dockets, to United States Magistrate Judge Steven L. Tiscione, serving as duty magistrate.
Magistrate Judge Tiscione granted the government’s revised applications and ordered that
the revised applications and resulting orders be sealed until otherwise ordered by the Court.

             The government respectfully requests that the three original applications in the
above-referenced dockets (filed as ECF No. 1 in each docket) be sealed until further order of
the Court. The original 90-day sealing period for these applications expires after today.

II.      Basis for Sealing

              The Second Circuit has explained that “the proper functioning of our grand
jury system depends upon the secrecy of grand jury proceedings.” United States v. Haller,
837 F.2d 84, 87-88 (2d Cir. 1988). There are several reasons for this principle:

                (1) To prevent the escape of those whose indictment may be
                contemplated; (2) to insure the utmost freedom to the grand jury
                in its deliberations, and to prevent persons subject to indictment
                or their friends from importuning the grand jurors; (3) to prevent
                subornation of perjury or tampering with the witnesses who may
                testify before the grand jury and later appear at the trial of those
                indicted by it; (4) to encourage free and untrammeled
                disclosures by persons who have information with respect to the
                commission of crimes; (5) to protect the innocent accused who
                is exonerated from disclosure of the fact that he has been under
                investigation, and from the expense of standing trial where there
                was no probability of guilt.

United States v. Moten, 582 F.2d 654, 662 (2d Cir. 1978). Federal Rule of Criminal
Procedure 6(e) “implements this policy of secrecy.” In re Grand Jury Subpoena, 103 F.3d
234, 237 (2d Cir. 1996). In particular, Rule 6(e)(6) provides that “[r]ecords, orders, and
subpoenas relating to grand-jury proceedings must be kept under seal to the extent and as
long as necessary to prevent the unauthorized disclosure of a matter occurring before a grand
jury.” The three applications at issue fall within this category. The applications and

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proposed non-disclosure orders identify the recipient of the grand jury subpoena, and the
subpoenas themselves further identify the type of information sought from the recipient and
specific witnesses, subjects, and/or targets under investigation. The documents are therefore
“relat[ed] to grand-jury proceedings.” See In re Grand Jury Subpoena, 103 F.3d at 238 (“a
proceeding is related to or affects a grand jury investigation if it would reveal matters
actually or potentially occurring before the grand jury”); Martin v. Consultants &
Administrators, Inc., 966 F.2d 1078, 1097 (7th Cir. 1992) (FBI reports were included within
the scope of Rule 6(e) “where disclosure would reveal the identities of targets and other
witnesses”); In re Grand Jury Proceedings, 851 F.2d 860, 866-67 (6th Cir. 1988)
(information relates to grand-jury proceedings where disclosure might reveal the nature or
direction of the proceedings); In re Application of the U.S. for an Order of Nondisclosure, 41
F. Supp. 3d 1, 7 (D.D.C. 2014) (presumption of public access does not apply to non-
disclosure application and proposed order as they are ancillary materials related to an
ongoing grand jury investigation). Moreover, those grand jury proceedings pertain to long-
term investigations that are expected to continue beyond 90 days.

               “The law of this circuit is clear that, once a proceeding falls under Rule 6(e), it
receives a presumption of secrecy and closure.” In re Grand Jury Subpoena, 103 F.3d at 239.
Any party seeking disclosure must show a “particularized need” that outweighs the need for
secrecy. Id. Particularized need is shown by proving that the material sought “is needed to
avoid a possible injustice in another proceeding,” “the need for disclosure is greater than the
need for continued secrecy,” and the disclosure request “is structured to cover only material
so needed.” Id. (internal quotation marks omitted). No party has come forward with a
showing of particularized need in these matters.

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               For the reasons set forth above, the government respectfully requests that the
three original applications in the above-referenced dockets (filed as ECF No. 1 in each
docket) be sealed until further order of the Court.



                                                    Respectfully submitted,

                                                    ROBERT L. CAPERS
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